         Case 1:23-cr-00089-ABJ Document 1-1 Filed 02/23/23 Page 1 of 6




                                   STATEMENT OF FACTS

        Your affiant,                 , is a special agent assigned to the Federal Bureau of
Investigation (“FBI”) Norfolk Field Office. In my duties as a special agent, I investigate national
security matters. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a special agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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          Case 1:23-cr-00089-ABJ Document 1-1 Filed 02/23/23 Page 2 of 6




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Open-source video and U.S. Capitol security cameras captured multiple images of
NATHAN WATTS (“WATTS”) of                   , participating in the riot at the U.S. Capitol on
January 6, 2021.

      IMAGE 1, an open-source photograph from Facbeook, 1 shows WATTS, wearing a red
“Make America Great Again” baseball cap, a dark-colored scarf, and a bluish-grey jacket at the
Washington Monument on January 6, 2021.




IMAGE 1 – WATTS near the Washington Monument.




1
 https://www.facebook.com/photo.php?fbid=1364806380525626&set=pb.100009888308738.-
2207520000.&type=3
                                                                                                   2
         Case 1:23-cr-00089-ABJ Document 1-1 Filed 02/23/23 Page 3 of 6




       Security video surveillance from inside the U.S. Capitol shows that WATTS was inside
the U.S. Capitol for approximately fifteen minutes, and entered via the Senate Wing Door at
approximately 3:01 pm, as captured in IMAGE 2.




IMAGE 2 – WATTS entering the U.S. Capitol via the Senate Wing Door.

       Once WATTS was inside, he walked south toward the Rotunda and Crypt. He entered the
Crypt of the U.S. Capitol at approximately 3:06 pm, as captured in IMAGE 3.




IMAGE 3 – WATTS inside the Crypt of the U.S. Capitol.



                                                                                         3
         Case 1:23-cr-00089-ABJ Document 1-1 Filed 02/23/23 Page 4 of 6




       Open-source video originally livestreamed on DLive.tv by a participant inside the U.S.
Capitol on January 6 shows WATTS inside a congressional conference room at approximately
3:11 pm. IMAGE 4 is a still shot from said video.




IMAGE 4 – WATTS inside a congressional conference room.

        Security video surveillance from inside the U.S. Capitol shows that WATTS exited the
U.S. Capitol via the Senate Wing Door at approximately 3:16 pm, as captured in IMAGE 5. In
total, WATTS spent approximately 15 minutes inside the Capitol building.




IMAGE 5 – WATTS lining up to exit the U.S. Capitol via the Senate Wing Door.



                                                                                           4
          Case 1:23-cr-00089-ABJ Document 1-1 Filed 02/23/23 Page 5 of 6




       Law enforcement officers from the FBI spoke with WATTS in person on July 14, 2021.
One of the law enforcement officers present for the conversation stated that WATTS was the
person pictured in the open-source photos herein. Specifically, the law enforcement officer had
previously observed a number of photographs of the individual wearing a red “Make America
Great Again” baseball cap, a dark-colored scarf, and a bluish-grey jacket (described above) and,
after meeting WATTS in person, was able to determine that the person was WATTS.

        Law enforcement officers from the FBI spoke with a person familiar with WATTS on
January 25, 2023. Said person identified WATTS to be the person depicted in IMAGE 4 (above),
referring to the person in the red hat in the left-hand side of the image.

       On January, 6, 2021, WATTS was not authorized to be in any of the restricted areas on
U.S. Capitol grounds, including the Capitol building.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
WATTS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.




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         Case 1:23-cr-00089-ABJ Document 1-1 Filed 02/23/23 Page 6 of 6




        Your affiant submits there is also probable cause to believe that WATTS violated 40 U.S.C.
§ 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud, threatening, or
abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in
any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a
session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                              SPECIAL AGENT
                                              FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 23rd day of February 2023.
                                                                    Digitally signed by Moxila A.
                                                                    Upadhyaya
                                             ___________________________________
                                                                    Date: 2023.02.23 11:58:18 -05'00'

                                             MOXILA A. UPADHYAYA
                                             U.S. MAGISTRATE JUDGE




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